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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION
                                  LONDON

UNITED STATES OF AMERICA


v.                                               INDICTMENT NO./.,:
                                                               ~,l'f·
                                                                    ~---



STEPHON D. ROSS,
  aka CAPONE

                                        * * * * *

THE GRAND JURY CHARGES:

                                         COUNT 1
                                       21 u.s.c. § 846

       On or about a date in September 2023, the exact date unknown, and continuing

through on or about October 17, 2023, in Laurel County and Fayette County, in the Eastern

District of Kentucky, and elsewhere,

                                  STEPHON D. ROSS,
                                    aka CAPONE,

did conspire with others to knowingly and intentionally distribute controlled substances,

including 40 grams or more of a mixture or substance containing a detectable amount of

fentanyl, a Schedule II controlled substance, and 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of 21 U.S.C. § 84l(a)(l), all in violation of21 U.S.C. § 846.
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                                         COUNT2
                                    21 U.S.C. § 84l(a)(l)

         On or about October 17, 2023, in Fayette County, in the Eastern District of

  Kentucky,

                                    STEPHON D. ROSS,
                                      aka CAPONE,

  did knowingly and intentionally possess with the intent to distribute controlled substances,

  including 40 grams or more of a mixture or substance containing a detectable amount of

  fentanyl, a Schedule II controlled substance, and 50 grams or more of a mixture or

  substance containing a detectable amount of methamphetamine, a Schedule II controlled

  substance, all in violation of21 U.S.C. § 841(a)(l).


                                                   A TRUE BILL




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  UNITED STATES ATTORNEY
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                                      PENALTIES

Not less than 5 years and not more than 40 years imprisonment, not more than a
$5,000,000 fine, and at least 4 years supervised release.

PLUS:        Mandatory special assessment of $100 per count.

PLUS:        Restitution, if applicable.
